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Case 1:17-cv-00997-ELH Document 12 Filed 06/12/17 Page 1 of 1
IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND /)¢, £:* ATR} Be

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JORGE E. VAZQUEZ, 201)
| Case No. 1:17 20 ib La 46
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APPROVED THIS BTR eres ,
v. rv OF. * 017
| LAER AL

SYNCHRONY BANK INC., and ELLEN L tote USD
MIDLAND CREDIT MANAGEMENT
INC.

Defendants

 

STIPULATION OF DISMISSAL AS TO |
MIDLAND CREDIT MANAGEMENT, INC. ONLY

Plaintiff Jorge E. Vazquez and defendant Midland Credit Management,

 

Inc., by counsel, hereby stipulate and agree that ali matters between them have

been compromised, and that Plaintiffs claims against Midland Credit

| Management, Inc. should be dismissed with prejudice, with each party to bear
its own,costs and attorneys’ fees.

iW LaurewM,. Burnette

LAUREN M. BURNETTE
BARRON & NEWBURGER, P.C.

  

 

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v. ez.jorge@comcast.net St. Johns, FL 32202.
Pro se Plaintiff  Iburnette@bn-lawyers.com
Counsel for Defendant

Date: (p jiz]tF | _ APPROVED BY THE COURT:

 

  
